        Case 1:20-cr-02023-SAB    ECF No. 135   filed 02/02/22   PageID.316 Page 1 of 3



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                                                                             FILED IN THE

 3                                                                       U.S. DISTRICT COURT
                                                                   EASTERN DISTRICT OF WASHINGTON


 4                                                                  Feb 02, 2022
 5                                                                      SEAN F. MCAVOY, CLERK



 6
                           UNITED STATES DISTRICT COURT
 7
                         EASTERN DISTRICT OF WASHINGTON
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 9
     UNITED STATES OF AMERICA,
10
                                 Plaintiff,        No. 1:20-CR-02023-SAB-1
11
             v.
12
     JAYME MECHELLE HUNT,                          ORDER CONTINUING
13
                                 Defendant.        PRETRIAL CONFERENCE AND
14
                                                   TRIAL DATE; EXTENDING
15
                                                   DEADLINES
16
17          The Court held a pretrial conference in the above-captioned matter on
18 February 2, 2022. Gregory Scott appeared on behalf of Defendant. Michael
19 Murphy appeared on behalf of the United States. Defendant was not present due to
20 her being in COVID-19 quarantine in the jail.
21          At the hearing, counsel for Defendant requested that the Court continue the
22 pretrial conference and trial and extend deadlines due to Defendant’s absence. The
23 United States did not object to the continuance. This Order memorializes the
24 Court’s oral rulings.
25 //
26 //
27 //
28 //
     ORDER CONTINUING PRETRIAL CONFERENCE AND TRIAL DATE;
     EXTENDING DEADLINES # 1
      Case 1:20-cr-02023-SAB    ECF No. 135    filed 02/02/22   PageID.317 Page 2 of 3



 1          Accordingly, IT IS HEREBY ORDERED:
 2          1.   The trial date is SET for Monday, June 27, 2022, at 9:00 a.m.,
 3 commencing with a final pretrial conference at 8:30 a.m. The trial is estimated to
 4 last three (3) to four (4) days and shall take place in Yakima, Washington.
 5          2.   The pretrial conference is CONTINUED to June 15, 2022, at 9:30
 6 a.m. in Yakima, Washington. Counsel shall advise the Court regarding any
 7 dispositive change in the status of this case at least five (5) days prior to the
 8 pretrial conference. Any motion to continue the pretrial conference or trial shall
 9 be filed at the earliest practicable opportunity, but no later than seven (7) days
10 prior to said proceeding. Movant shall provide (1) specific and detailed reasons
11 for the continuance to permit the Court to make the necessary findings; (2) if
12 applicable, Defendant’s signed Speedy Trial Waiver; (3) the position of opposing
13 counsel; and (4) the proposed new date. Continuances are not granted absent good
14 cause.
15          3.   All pretrial motions, including motions in limine and Daubert
16 motions, shall be filed on or before May 25, 2022 and noted for hearing at the
17 pretrial conference. Any response to a pretrial motion shall be filed and served in
18 accordance with Local Rule 7.1.
19          4.   The Court finds, given the outbreak of the COVID-19 virus, that
20 rescheduling hearings set in the near future would result in minimizing undue risk
21 to defendants, counsel, law enforcement, Court staff, and the public at large. The
22 Court also finds current public health advisories reduce the Court’s ability to
23 obtain an adequate spectrum of jurors and curtails the availability of counsel and
24 Court staff to be present in the courtroom. See Eastern District of Washington
25 General Order 2021-24. The Court, therefore, finds the ends of justice served by
26 resetting hearings in all criminal matters during this period outweigh the best
27 interest of the public and defendants in speedy trials, and the period of delay
28 attributable to this Order will be excluded from Speedy Trial Act calculations.
     ORDER CONTINUING PRETRIAL CONFERENCE AND TRIAL DATE;
     EXTENDING DEADLINES # 2
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 1        Pursuant to 18 U.S.C. § 3161(h)(7)(A), the time between February 14, 2022,
 2 the original trial date, until June 27, 2022, the new trial date, is DECLARED
 3 EXCLUDABLE for purposes of computing time under the Speedy Trial Act. The
 4 Court finds that the ends of justice served by such a continuance outweigh the
 5 public’s and Defendant’s interest in a speedy trial.
 6        5.    Trial briefs, proposed voir dire, jury instructions, verdict forms,
 7 exhibit lists, expert witness lists, and summaries of expert testimony shall be filed
 8 and served by all parties on or before seven (7) calendar days prior to trial. This
 9 does not modify the parties’ discovery obligations under Fed. R. Crim. P. 16.
10 Absent an agreement between the parties or an Order from the Court, the parties’
11 Fed. R. Crim. P. 16 discovery deadlines shall be governed by Local Criminal Rule
12 16.
13        IT IS SO ORDERED. The District Court Clerk is hereby directed to enter
14 this Order and provide copies to counsel.
15        DATED this 2nd day of February 2022.
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20                                        Stanley A. Bastian
21                                Chief United States District Judge
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     ORDER CONTINUING PRETRIAL CONFERENCE AND TRIAL DATE;
     EXTENDING DEADLINES # 3
